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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 13-344V
                                        Filed: May 1, 2015

* * * * * * * * * * * * * * * *                               UNPUBLISHED
JESSE KNIGHT,                 *
                              *
           Petitioner,        *                               Special Master Dorsey
                              *
v.                            *
                              *
SECRETARY OF HEALTH           *                               Joint Stipulation on Damages;
AND HUMAN SERVICES,           *                               Influenza (Flu) Vaccine; Guillain-
                              *                               Barré Syndrome (GBS).
           Respondent.        *
                              *
* * * * * * * * * * * * * * * *

Leonard John Mark, Tiffany & Bosco, PA, Phoenix, AZ, for petitioner.
Justine Elizabeth Walters, United States Department of Justice, Washington, DC, for respondent.

                                            DECISION1

        On May 20, 2013, Jesse Knight (“petitioner”), filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner alleged
that an influenza (“flu”) vaccine administered to him on September 8, 2010, caused him to suffer
from Guillain-Barré syndrome (“GBS”). Petition at 1-2. Petitioner further alleged that he
suffered the residual effects or complications of his vaccine injury for more than six months. Id.


1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.

                                                  1
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at 3. On May 1, 2015, the parties filed a stipulation, stating that a decision should be entered
awarding compensation.

        Respondent denies that the influenza vaccine caused petitioner to suffer from GBS or any
other injury or his current condition. Nevertheless, the parties agree to the joint stipulation,
attached hereto as Appendix A. The undersigned finds the stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

       The parties stipulated that petitioner shall receive the following compensation:

       a. A lump sum of $236,280.32, in the form of a check payable to petitioner. This
          amount represent compensation for first year life care expenses ($41,280.32), and lost
          earnings, pain and suffering, and past unreimbursable expenses combined
          ($195,000.00), and

       b. An amount sufficient to purchase the annuity contract described in paragraph 10 of
          the attached stipulation (Appendix A), paid to the life insurance company from which
          the annuity will be purchased.

       Stipulation ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

       IT IS SO ORDERED.

                                              s/ Nora Beth Dorsey
                                              Nora Beth Dorsey
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                 2
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